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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


    In re:                                                                   Chapter 11

    TRUE VALUE COMPANY, L.L.C., et al.                                       Case No. 24-12337 (KBO)
                      Debtors.1                                              (Jointly Administered)



                                                  AFFIDAVIT OF SERVICE

        I, Randy Lowry, am employed in the county of Los Angeles, State of California. I hereby certify that on
November 4, 2024, at my direction and under my supervision, employees of Omni Agent Solutions, Inc. caused
true and correct copies of the following documents to be served via the method set forth on the Master Service List
attached hereto as Exhibit A:

        Final Order (I) Authorizing Debtors to (A) Maintain Existing Insurance Programs, (B) Continue to
         Honor Insurance Program Obligations and (C) Renew, Revise, Extend, Supplement, Change, or
         Enter Into New Coverage and Financing Agreements, (II) Authorizing Debtors to Modify the
         Automatic Stay for Claims Under the Workers’ Compensation Program and (III) Granting Related
         Relief [Docket No. 278]

        Final Order (I) Authorizing the Debtors to (A) Continue Use of Existing Cash Management System,
         Bank Accounts, and Business Forms and (B) Implement Changes to Their Cash Management System
         in the Ordinary Course of Business; (II) Modifying Certain Requirements of Section 345(b) of the
         Bankruptcy Code; (III) Authorizing Continuance of Intercompany Transactions; (IV) Honoring
         Certain Related Prepetition Obligations; and (V) Granting Related Relief [Docket No. 281]

        Final Order (I) Authorizing the Debtors to Pay Certain Prepetition Claims of (A) Critical Vendors,
         (B) Foreign Vendors, and (C) Lien Claimants; and (II) Granting Related Relief [Docket No. 291]

        Final Order (I)(A) Authorizing Debtors to Use Cash Collateral; (B) Granting Adequate Protection to
         Prepetition Lenders; and (C) Modifying the Automatic Stay; and (II) Granting Related Relief
         [Docket No. 296]

        Order (I) Approving the Bid Protections; (II) Approving the Assumption and Assignment
         Procedures; (III) Authorizing and Approving the Form of Notice of the Sale of Substantially All of
         the Assets of the Debtors; (IV) Authorizing and Scheduling the Sale Hearing and Setting Other
         Related Dates and Deadlines; and (V) Granting Related Relief [Docket No. 297]

         On November 4, 2024, at my direction and under my supervision, employees of Omni Agent Solutions,
Inc. caused true and correct copies of the following document to be served via the method set forth on the Service
List attached hereto as Exhibit B:




1
  The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers, are as follows: True
Value Company, L.L.C. (9896); TV Holdco II, L.L.C. (2272); TV TSLC, L.L.C. (7025); TV GPMC, L.L.C. (8136); True Value Retail,
L.L.C. (7946); TrueValue.com Company, L.L.C. (6386); True Value Virginia, L.L.C. (9197); and Distributors Hardware, L.L.C. (8106). The
address of the Debtors’ corporate headquarters is 8600 W. Bryn Mawr Ave. Chicago, IL 60631.
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                                                                                                             Exhibit A
                                                                                                         Master Service List


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True Value Company, L.L.C., et al. (Case No. 24‐12337)
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                                                                                                   Exhibit A
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                                                                                                Exhibit A
                                                                                             Master Service List


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True Value Company, L.L.C., et al. (Case No. 24‐12337)
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                                                                                                    Exhibit A
                                                                                                Master Service List


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Attorney General                           Office of the Attorney General      Attn: Aaron D Ford                           aginfo@ag.nv.gov                   Email
                                                                               Old Supreme Court Bldg
                                                                               100 N Carson St
                                                                               Carson City, NV 89701
*NOA ‐ Counsel to Beacon Sales             Offit Kurman, P.A.                  Attn: Brian J McLaughlin                     brian.mclaughlin@offitkurman.com   Email
Acquisition, Inc.                                                              222 Delaware Ave, Ste 1105
                                                                               Wilmington, DE 19801
*NOA ‐ Counsel for Beacon Sales            Offit Kurman, P.A.                  Attn: Stephen Metz                           smetz@offitkurman.com              Email
Acquisition, Inc.                                                              7501 Wisconsin Ave, Ste 1000W
                                                                               Bethesda, MD 20814
(b) Counsel to the prepetition Lenders     Otterbourg P.C.                     Attn: Daniel Fiorillo, Esq.                  dfiorillo@otterbourg.com           Email
                                                                               230 Park Ave
                                                                               New York, NY 10169‐0075
*NOA ‐ Counsel to PNC Bank, National       Otterbourg P.C.                     Attn: Daniel F Fiorillo/Adam C Silverstein   dfiorillo@otterbourg.com           Email
Association                                                                    Attn: Chad B Simon/Pauline McTernan          asilverstein@otterbourg.com
                                                                               230 Park Ave                                 csimon@otterbourg.com
                                                                               New York, NY 10169                           pmcternan@otterbourg.com
*NOA ‐ Proposed Counsel to the Official    Pachulski Stang Ziehl & Jones LLP   Attn: Bradford J Sandler/Colin R Robinson    bsandler@pszjlaw.com               Email
Committee of Unsecured Creditors                                               Attn: Edward A Corma                         crobinson@pszjlaw.com
                                                                               919 N Market St, 17th Fl                     ecorma@pszjlaw.com
                                                                               PO Box 8705
                                                                               Wilmington, DE 19899‐8705 (Courier 19801)
*NOA ‐ Proposed Counsel to the Official    Pachulski Stang Ziehl & Jones LLP   Attn: Robert J Feinstein/Paul J Labov        rfeinstein@pszjlaw.com             Email
Committee of Unsecured Creditors                                               Attn: Cia H Mackle                           plabov@pszjlaw.com
                                                                               780 3rd Ave, 34th Fl                         cmackle@pszjlaw.com
                                                                               New York, NY 10017




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                                                                                                         Master Service List


              Description                                     Name                                              Address                                   Email                    Method of Service
Committee of Unsecured Creditors           Pension Benefit Guaranty Corp.              Attn: Cynthia Wong                        wong.cynthia@pbgc.gov                    Email
                                                                                       445 12th St SW
                                                                                       Washington, DC 20024‐2101
*NOA ‐ Counsel to PBGC                     Pension Benefit Guaranty Corporation        Attn: Samuel L Rosin/Simon J Torres       rosin.samuel@pbgc.gov                    Email
                                                                                       Attn: Marc S Pfeuffer                     torres.simon@pbgc.gov
                                                                                       Office of the General Counsel             pfeuffer.marc@pbgc.gov
                                                                                       445 12th St, SW                           efile@pbgc.gov
                                                                                       Washington, DC 20024
*NOA ‐ Counsel for Ferrellgas, L.P.        Polsinelli PC                               Attn: Michael V DiPietro                  mdipietro@polsinelli.com                 Email
                                                                                       222 Delaware Ave, Ste 1101
                                                                                       Wilmington, DE 19801
*NOA ‐ Counsel for Ferrellgas, L.P.        Polsinelli PC                               Attn: Andrew J Nazar                      anazar@polsinelli.com                    Email
                                                                                       900 W 48th Pl, Ste 900
                                                                                       Kansas City, MO 64112
*NOA ‐ Counsel to Fifth Third Bank, N.A    Reed Smith LLP                              Attn: Jason D Angelo/Cameron C Capp       jangelo@reedsmith.com                    Email
                                                                                       1201 N Market St, Ste 1500                ccapp@reedsmith.com
                                                                                       Wilmington, DE 19801
*NOA ‐ Counsel for Allied Universal        Robinson & Cole LLP                         Attn: Katherine S Dute                    kdute@rc.com                             Email
Security Services                                                                      1201 N Market St, Ste 1406
                                                                                       Wilmington, DE 19801
*NOA ‐ Counsel for Allied Universal        Robinson & Cole LLP                         Attn: Rachel Jaffe Mauceri                rmauceri@rc.com                          Email
Security Services                                                                      1650 Market St, Ste 3030
                                                                                       Philadelphia, PA 19103
*NOA ‐ Counsel for Charlotte Pipe and      Robinson Bradshaw & Hinson, PA              Attn: David M Schilli                     dschilli@robinsonbradshaw.com            Email
Foundry Company                                                                        101 N Tryon St, Ste 1900
                                                                                       Charlotte, NC 28246
Committee of Unsecured Creditors           Rust‐Oleum Corp.                            11 E Hawthorn Pkwy                        john.brodersen@rustoleum.com             Email
                                                                                       Vernon Hills, IL 60061
Committee of Unsecured Creditors           Ryder Integrated Logistics                  Attn: Mike Mandell                        mike_mandell@ryder.com                   Email
                                                                                       2333 Ponce De Leon Blvd
                                                                                       Coral Gables, FL 33134
Governmental Agencies                      Secretary of State                          Division of Corporations Franchise Tax                                             First Class Mail
                                                                                       P.O. Box 898
                                                                                       Dover, DE 19904
SEC                                        Securities & Exchange Commission            Attn: Antonia Apps, Regional Director                                              First Class Mail
                                                                                       100 Pearl St, Ste 20‐100
                                                                                       New York, NY 10004‐2616
SEC                                        Securities & Exchange Commission            100 F St NE                                                                        First Class Mail
                                                                                       Washington, DC 20549
SEC                                        Securities & Exchange Commission            Philadelphia Regional Office                                                       First Class Mail
                                                                                       1617 JFK Blvd, Ste 520
                                                                                       Philadelphia, PA 19103
Debtors Counsel                            Skadden, Arps, Slate, Meagher & Flom LLP    Attn: Joseph Larkin                       Joseph.Larkin@skadden.com                Email
                                                                                       1 Rodney Sq
                                                                                       920 N King St
                                                                                       Wilmington, DE 19801
Debtors Counsel                            Skadden, Arps, Slate, Meagher & Flom LLP    Attn: Ron E Meisler/Jennifer Madden       Ron.Meisler@skadden.com                  Email
                                                                                       320 S Canal St                            Jennifer.Madden@skadden.com
                                                                                       Chicago, IL 60606‐5707
Debtors Counsel                            Skadden, Arps, Slate, Meagher & Flom LLP    Attn: Evan A Hill/Moshe S Jacob           Evan.Hill@skadden.com                    Email
                                                                                       1 Manhattan W                             Moshe.Jacob@skadden.com
                                                                                       New York, NY 10001
Committee of Unsecured Creditors           STIHL Inc.                                  Attn: Robin Shearer                       robin.shearer@stihl.us                   Email
                                                                                       536 Viking Dr
                                                                                       Virginia Beach, VA 23452
Counsel to the Stalking Horse Bidder       Taft Stettinius & Hollister LLP             Attn: Zachary E Klutz, W Timothy Miller   zklutz@taftlaw.com; miller@taftlaw.com   Email
                                                                                       1 Indiana Sq, Ste 3500
                                                                                       Indianapolis, IN 46204
*NOA ‐ Counsel for the Texas Comptroller Texas Attorney General's Office               Attn: Christopher S Murphy                christopher.murphy@oag.texas.gov         Email
of Public Accounts                                                                     Bankruptcy & Collections Division
                                                                                       PO Box 12548
                                                                                       Austin, TX 78711‐2548
Committee of Unsecured Creditors           The Hillman Group, Inc.                     Attn: Dan Bauer                           daniel.bauer@hillmangroup.com            Email
                                                                                       1280 Kemper Meadow Dr
                                                                                       Cincinnati, OH 45240
Committee of Unsecured Creditors           The Sherwin‐Williams Co. d/b/a Minwax       Attn: Cecil McCurty                       cmccurty@valspar.com                     Email
                                                                                       101 W Prospect Ave
                                                                                       1100 Midland Bldg
                                                                                       Cleveland, OH 44115
*NOA ‐ Counsel for Mansfield Oil           Thompson, O'Brien, Kappler & Nasuti, P.C.   Attn: Michael B Pugh                      mpugh@tokn.com                           Email
Company                                                                                2 Sun Ct, Ste 400
                                                                                       Peachtree Corners, GA 30092
*NOA ‐ Counsel to The Hardware House,      Tydings & Rosenberg, LLP                    Attn: Dennis J Shaffer/Stephen B Gerald   dshaffer@tydings.com                     Email
Inc                                                                                    200 Continental Dr, Ste 401               sgerald@tydings.com
                                                                                       Newark, DE 19713
US Attorney's Office                       United States Attorney’s Office             District of Delaware                                                               First Class Mail
                                                                                       1313 N Market St
                                                                                       Wilmington, DE 19801
US Trustee                                 US Trustee for the District of Delaware     Attn: Benjamin A Hackman                  benjamin.a.hackman@usdoj.gov             Email
                                                                                       844 N King St, Rm 2207
                                                                                       Wilmington, DE 19801
Committee of Unsecured Creditors           W.P. Carey Inc.                             1 Manhattan W                             chayes@wpcarey.com                       Email
                                                                                       395 9th Ave, 58th Fl
                                                                                       New York, NY 10001
*NOA ‐ Counsel for The Dow Chemical     Warner Norcross & Judd LLP                     Attn: Rozanne M Giunta                    rgiunta@wnj.com                          Email
Company & Rohm and Haas Company LLC,                                                   715 E Main St, Ste 110
Counsel for Rohm and Haas Chemicals LLC                                                Midland, MI 48640

*NOA ‐ Counsel for the Dow Chemical        Warner Norcross & Judd LLP                  Attn: Charles R Quigg                     cquigg@wnj.com                           Email
Company and Rohm and Haas Chemicals                                                    150 Ottawa Ave NW, Ste 1500
LLC                                                                                    Grand Rapids, MI 49503
*NOA ‐ Agent for Toyota Industries         Weltman, Weinberg and Reis Co., L.P.A       Attn: Scott D Fink                        bronationalecf@weltman.com               Email
Commercial Finance, Inc.                                                               5990 W Creek Rd, Ste 200
                                                                                       Independence, OH 44131




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                                                                                                      Exhibit A
                                                                                                   Master Service List


              Description                                     Name                                         Address                                    Email               Method of Service
*NOA ‐ Counsel for Rust‐Oleum              Williams Mullen                        Attn: Michael D Mueller/Jennifer M McLemore   mmueller@williamsmullen.com       Email
Corporation and DAP Global, Inc                                                   200 S 10th, St, Ste 1600                      jmclemore@williamsmullen.com
                                                                                  Richmond, VA 23219‐3095
                                           Young Conaway Stargatt & Taylor, LLP   Attn: Edmon L Morton/Kenneth Enos             emorton@ycst.com                  Email
Proposed Delaware efficiency counsel to
                                                                                  1000 N King St                                kenos@ycst.com
the Debtors
                                                                                  Wilmington, DE 19801




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                                                                                                                    Exhibit B
                                                                                                                     Service List


                                    Name                                                                                                    Address                                                                       Method of Service
Ace American Insurance Company                                      Dept Ch10123                                   Palatine, IL 60055                                                                            First Class Mail
AFCO Premium Credit LLC                                             150 North Field Drive, Suite 190               Lake Forest, IL 60045                                                                         First Class Mail
AIG                                                                 1271 Ave of the Americas FL 37                 New York, NY 10020‐1304                                                                       First Class Mail
AIG / National Union Fire Ins. Co.                                  1271 Avenue of the Americas Fl 4               New York, NY 10020‐1304                                                                       First Class Mail
Alliant Insurance Services                                          18100 Von Karman Ave, Ste 1000                 Irvine, CA 92612                                                                              First Class Mail
Allianz Global Risks US Insurance Company                           28 Liberty St, 24th Fl                         New York, NY 10005                                                                            First Class Mail
Allied World Assurance Co (US) Inc.                                 199 Water St, Ste 24                           New York, NY 10038                                                                            First Class Mail
Allied World Specialty Insurance Co                                 199 Water St, Ste 24                           New York, NY 10038                                                                            First Class Mail
American Zurich Insurance Company                                   10 S. Riverside                                Chicago, IL 60606                                                                             First Class Mail
Aon plc                                                             Attn: Liz Poster                               200 E. Randolph St, 9th Fl             Chicago, IL 60601                                      First Class Mail
AON Premium Finance                                                 200 E. Randolph Street                         Chicago, IL 60601                                                                             First Class Mail
AON Risk Services Central, Inc. – Chicago                           Aon – MSC#17510                                PO Box 1447                            Lincolnshire, IL 60069                                 First Class Mail
Aviva Insurance Ltd (5%)                                            80 Fenchurch St                                London EC3M 4AE United Kingdom                                                                First Class Mail
Beazley Insurance Company Inc                                       Plantation Pl e S 60 Great Tower St            London EC3R 5AA United Kingdom                                                                First Class Mail
Berkshire Hathaway Specialty Insurance Company                      100 Federal St, 7th Fl                         Boston, MA 02110                                                                              First Class Mail
Brit Syndicates (London)                                            122 Leadenhall St                              London EC3V 4AB United Kingdom                                                                First Class Mail
Columbia Casualty Company (CNA) (6%)                                CNA Plz                                        Chicago, IL 60685                                                                             First Class Mail
Commerce & Industry Insurance Company (AIG)                         1271 Avenue of the Americas Fl 41              New York, NY 10020‐1304                                                                       First Class Mail
Continental Casualty Company                                        151 N Franklin St                              Chicago, IL 60606                                                                             First Class Mail
Everest National Insurance Company                                  477 Martinsville Rd                            Liberty Corner, NJ 07059                                                                      First Class Mail
Fair American Insurance and Reinsurance Company                     1 Liberty Plz 165                              New York, NY 10006                                                                            First Class Mail
Federal Insurance Company                                           202 N Illinois St, Ste 2600                    Indianapolis, IN 46204‐1902                                                                   First Class Mail
Fireman's Fund Insurance Company                                    Corporate Consumer Affairs                     1465 N McDowell Blvd, Ste 100          Petaluma, CA 94954‐6570                                First Class Mail
Freedom Specialty (Nationwide)                                      250 Greenwich St, Ste 3700                     New York, NY 10007                                                                            First Class Mail
Great American Assurance Company                                    301 E Fourth St                                Cincinnati, OH 45202                                                                          First Class Mail
Hudson Insurance Company                                            100 William St. 4th Fl                         New York, NY 10038                                                                            First Class Mail
Illinois Union Insurance Company                                    303 W Erie St, Ste 310                         Chicago, IL 60654                                                                             First Class Mail
Indemnity Ins. Co. of North America                                 436 Walnut st                                  P.O. Box 1000                          Philadelphia, PA 19106‐3703                            First Class Mail
Insurance Company of the State of PA (AIG)                          500 W Madison St, Ste 3000                     Chicago, IL 60661                                                                             First Class Mail
Lumbermens Mutual Casual Company, in Liquidation                    2 Corporate Dr, Ste 100                        Lake Zurich, IL 60047                                                                         First Class Mail
Lumbermens Mutual Casual Company, in Liquidation                    Attn: Collateral Administration                2 Corporate Dr, Ste 110                Lake Zurich, IL 60047                                  First Class Mail
MUFG Bank, Ltd.                                                     1251 Avenue of the Americas                    New York Branch                        New York, NY 10020                                     First Class Mail
National Union Fire Ins. Co. (AIG)                                  1271 Avenue of the Americas Fl 41, New York,   New York, NY 10020‐1304                                                                       First Class Mail
                                                                    NY 10020‐1304
National Union Fire Insurance Company of Pittsburgh, P.A., et al.   Attn: Mr. Donato Diluzio                       P.O. Box 923                           Wall Street Station           New York, NY 10268       First Class Mail
SCOR UK Company Limited (5%)                                        10 Lime St                                     Moorgate EC3M 7AA United Kingdom                                                              First Class Mail
Steadfast Insurance Company (Zurich)                                167 S State St #175                            Westerville, OH 43081                                                                         First Class Mail
Texas Capital Bank                                                  Letter of Credit Unit                          1001 E. Lookout Dr. Tower A, Ste 700   Richardson, TX 75082                                   First Class Mail
Texas Capital Bank                                                  2350 Lakeside Blvd, Ste 800                    Richardson, TX 75082                                                                          First Class Mail
Travelers Excess and Surplus Lines Co (Corvus)                      1 Tower Sq                                     Hartford, CT 06156‐0001                                                                       First Class Mail
USI Insurance Services                                              Attn: Cris Joanne Ehrgott                      2021 Spring Road, Ste 100              Oak Brook, IL 60523                                    First Class Mail
USI Midwest                                                         222 S. Riverside Plz, Ste 630                  Chicago, IL 60606                                                                             First Class Mail
USI Midwest LLC                                                     Attn: Joanne Ehrgott                           2021 Spring Rd                         Oakbrook, IL 60523                                     First Class Mail
Westchester Fire Insurance Company (Chubb)                          436 Walnut St                                  Philadelphia, PA 19106                                                                        First Class Mail
Westchester Surplus Lines Insurance Company (Chubb)                 202 Halls Mill Rd                              Whitehouse Station, NJ 08889                                                                  First Class Mail
Willis Towers Watson plc                                            Attn: Quinn Regan                              Brookfield Place                       200 Liberty Street            New York, NY 10281‐110   First Class Mail
XL Insurance America Inc (AXA XL) (14%)                             70 Seaview Ave, Ste 1                          Stamford, CT 06902‐6040                                                                       First Class Mail
XL Specialty Insurance Company                                      677 Washington Blvd, Ste 1000                  Stamford, CT 06901‐3717                                                                       First Class Mail
Zurich                                                              1299 Zurich Way                                Schaumburg, IL 60196‐1056                                                                     First Class Mail
Zurich (70%)                                                        1299 Zurich Way                                Schaumburg, IL 60196‐1056                                                                     First Class Mail
Zurich American Insurance Company                                   Attn: Collateral Department                    1299 Zurich Way, 7th Fl                Schaumburg, IL 60196                                   First Class Mail




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                                                                                         Exhibit C
                                                                                         Service List


                       Name                                                                           Address                                           Method of Service
Bank of America, NA                                      Attn: Daniel Rubio                                     110 N Wacker Dr                First Class Mail
Bank of Houston                                          Attn: David Melo                                       4400 Post Oak Pkwy, Ste 2260   First Class Mail
Bank of Montreal                                         Attn: Mark Durnal                                      320 S Canal St, 16th Fl        First Class Mail
Citibank, N.A.                                           399 Park Ave                                           New York, NY 10022             First Class Mail
City National Bank                                       Attn: Tiffany Lemieux                                  555 S Flower St, 20th Fl S     First Class Mail
PNC Bank, NA                                             Attn: Jacqueline Mackenzie                             1600 Market St                 First Class Mail
The Industrial and Commercial Bank of China              No.55 Fuxingmen Inner St., Xicheng District Beijing    Beijing, 100140 China          First Class Mail
US Bank National Association                             Attn: Debbie Bear                                      200 S 6th St                   First Class Mail




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                                                                                                                                                        Exhibit D
                                                                                                                                                        Service List


                                    Name                                                                                                                    Address                                                 Email                  Method of Service
Alabama Department of Revenue                                   50 N Ripley St                     Montgomery, AL 36130                                                                                                           First‐Class Mail
ARC Equipment Finance LLC                                       1S660 Midwest Rd, Ste 310A        Oakbrook Terrace, IL 60181                                                                                                      First‐Class Mail
Arizona Department of Revenue                                   1600 W Monroe                      Phoenix, AZ 85007                                                                                                              First‐Class Mail
Arkansas Auditor of State                                       1400 W Third St, Ste 100          Unclaimed Property Division       Little Rock, AR 72201                                                                         First‐Class Mail
Arkansas Department of Finance And Administration               1900 W 7th St                      Little Rock, AR 72203                                                                                                          First‐Class Mail
Asset Finance Inc.                                              3665 Park Pl W, Ste 150           Mishawaka, IN 46545                                                                                                             First‐Class Mail
Atlantic Union Bank                                             1051 E Cary St, Ste 1200          Richmond, VA 23219                                                                                                              First‐Class Mail
Bank of America, N.A.                                           as Administrative Agent           135 S LaSalle St                  Chicago, IL 60603                                                                             First‐Class Mail
Bank of America, N.A.                                           as Administrative Agent           231 S LaSalle St                  IL1‐231‐08‐30                        Chicago, IL 60697                                        First‐Class Mail
Bank of Montreal                                                770 N Water St, 8th Fl            Milwaukee, WI 53202                                                                                                             First‐Class Mail
BankFinancial, F.S.B.                                           15W060 N Frontage Rd              Burr Ridge, IL 60524                                                                                                            First‐Class Mail
BankFinancial, National Association                             15W060 N Frontage Rd              Burr Ridge, IL 60524                                                                                                            First‐Class Mail
Barry L Moyer Tax Collector                                     8330 Schantz Rd                    Breinigsville, PA 18031                                                                                                        First‐Class Mail
BMO Harris Equipment Finance Company                            770 N Water St, 8th Fl            Milwaukee, WI 53202                                                                                                             First‐Class Mail
C T Corporation System                                          Attn: SPRS                        330 N Brand Blvd, Ste 700         Glendale, CA 91203                                                                            First‐Class Mail
California Board of Equalization                                P.O. BOX 942882                    Sacramento, CA 94279                                                                                                           First‐Class Mail
California Deparment of Food And Agriculture                    P.O. Box 942872                    Sacramento, CA 94271                                                                                                           First‐Class Mail
California Deparment of Pesticide Regulation                    1001 I St                         P.O. Box 4015                     Sacramento, CA 95812                                                                          First‐Class Mail
California Department of Conservation                           Accounting                        MS 19A                            P.O. Box 2711                        Sacramento, CA 95812                                     First‐Class Mail
California Department of Resources                              Oil Recycling Fee Section         P.O. Box 2711                     Sacramento, CA 95812                                                                          First‐Class Mail
California Franchise Tax Board                                  P.O. Box 942840                    Sacramento, CA 94240                                                                                                           First‐Class Mail
California Office of The State Controller                       Bureau of Unclaimed Property      P.O. Box 942850                   Sacramento, CA 94250                                                                          First‐Class Mail
California State Board of Equalization                          Environmental Fees Division       P.O. Box 942879                   Sacramento, CA 94279                                                                          First‐Class Mail
CCA Financial, LLC                                              7275 Glen Forest Dr, Ste 100      Richmond, VA 23226                                                                                                              First‐Class Mail
Chambers County                                                 2 Lafayette St N #B114             Lafayette, AL 36862                                                                                                            First‐Class Mail
Chicago Department of Revenue                                   Collections Unit Rm 107A          121 N LaSalle St                  Chicago, IL 60602                                                                             First‐Class Mail
Cisco Systems Capital Corporation                               1111 Old Eagle School Rd          Wayne, PA 19087                                                                                                                 First‐Class Mail
CIT Bank, N.A.                                                  1 CIT Dr                          Livingston, NJ 07039                                                                                                            First‐Class Mail
CIT Bank, N.A.                                                  10201 Centurion Pkwy N, Ste 100   Jacksonville, FL 32256                                                                                                          First‐Class Mail
CIT Technologies Corporation                                    2285 Franklin Rd                  Bloomfield Hills, MI 48302                                                                                                      First‐Class Mail
Citizens Asset Finance, Inc.                                    480 Jefferson Blvd                Warwick, RI 02886                                                                                                               First‐Class Mail
Citizens Asset Finance, Inc.                                    71 S Wacker Dr, 29th Fl           Chicago, IL 60606                                                                                                               First‐Class Mail
City & County of Denver Treasurer                               P.O. Box 17420                     Denver, CO 80217                                                                                                               First‐Class Mail
City and County of Denver Wastewater Management Division        P.O. Box 17827                     Denver, CO 80217                                                                                                               First‐Class Mail
City of Alamosa                                                 P.O. Box 419                       Alamosa, CO 81101                                                                                                              First‐Class Mail
City of Aspen Finance Department                                130 S Galena St                    Aspen, CO 81611                                                                                                                First‐Class Mail
City of Bellingham                                              Finance Department                210 Lottie St                      Bellingham, WA 98225                                                                         First‐Class Mail
City of Bremerton                                               Tax & License Division            239 Fourth St                      Bremerton, WA 98337                                                                          First‐Class Mail
City of Campbellsburg                                           P.O. Box 183                      Campbellsburg, KY 40011                                                                                                         First‐Class Mail
City of Chicago Department of Finance                           400 W Superior St                 1st Fl                            Chicago, IL 60654                                                                             First‐Class Mail
City of Chicago License Office                                  121 N LaSalle St                  8th Fl                            Rm 800                               Chicago, IL 60602                                        First‐Class Mail
City of Delta                                                   360 Main St                       Delta, CO 81416                                                                                                                 First‐Class Mail
City of Dothan                                                  License Division                  P.O. Box 2128                      Dothan, AL 36302                                                                             First‐Class Mail
City of Flagstaff                                               211 W Aspen Ave                   Flagstaff, AZ 86001                                                                                                             First‐Class Mail
City of Jackson                                                 P.O. Box 1096                     400 Commerce St                   Jackson, AL 36545                                                                             First‐Class Mail
City of Kansas City                                             414 E 12th St                     Kansas City , MO 64106                                                                                                          First‐Class Mail
City of Lafayette                                               P.O. Box 87                       Lafayette, AL 36862                                                                                                             First‐Class Mail
City of Lamar                                                   Licensing Dept                    102 E Parmenter St                Lamar, CO 81052                                                                               First‐Class Mail
City of Los Angeles                                             Office of The City Clerk          P.O. Box 53235                    Los Angeles, CA 90053                                                                         First‐Class Mail
City of Manchester Tax Collector                                City of Manchester                P.O. Box 9598                     Manchester, NH 03108                                                                          First‐Class Mail
City of Mobile                                                  Business License Department       P.O. Box 949                      Mobile, AL 36652                                                                              First‐Class Mail
City of Mobile Revenue Department                               205 Government St                 Mobile, AL 36602                                                                                                                First‐Class Mail
City of Montgomery                                              P.O. Box 830469                   Birmingham, AL 35283                                                                                                            First‐Class Mail
City of Montrose                                                P.O. Box 790                      Montrose, CO 81402                                                                                                              First‐Class Mail
City of Peoria                                                  8401 W Monroe St                  Peoria, AZ 85345                                                                                                                First‐Class Mail
City of Philadelphia                                            Dept of Revenue                   P.O. Box 1529                     Philadelphia, PA 19105                                                                        First‐Class Mail
City of Red Bay                                                 P.O. Box 2002                     Red Bay, AL 35582                                                                                                               First‐Class Mail
City of Seattle                                                 700 5th Ave                       Fl 42                             Seattle, WA 98104                                                                             First‐Class Mail
City of Seattle Revenue & Consumer Affairs Division             P.O. Box 34907                    Seattle, WA 98124                                                                                                               First‐Class Mail
City of Selma License Department                                P.O. Box 450                      Selma, AL 36702                                                                                                                 First‐Class Mail
City of Troy Licensing Department                               P.O. Box 549                      Troy, AL 36081                                                                                                                  First‐Class Mail
Clayton County                                                  Board of Commisions               P.O. Box 530101                   Atlanta, GA 30353                                                                             First‐Class Mail
Clayton County Commercial Department                            235 Peachtree St                  Ste 1900                          Atlanta, GA 30353                                                                             First‐Class Mail
Clayton County Tax Commissioner                                 Administration Annex 3 2nd Fl     121 S McDonough St                Jonesboro, GA 30236                                                                           First‐Class Mail
Colorado Department Of Revenue                                  P.O. Box 17087                    Denver, CO 80217                                                                                                                First‐Class Mail
Colorado Department Of Treasury                                 1560 Broadway, Ste 1225           Unclaimed Property Divison        Denver, CO 80202                                                                              First‐Class Mail
Commissioner of Revenue Service                                 Dept Of Revenue Services          P.O. Box 5030                     Hartford, CT 06104                                                                            First‐Class Mail
Commonwealth of Massachusetts Dept of Revenue                   P.O. Box 7046                     Boston, MA 02204                                                                                                                First‐Class Mail
Commonwealth of Massachusetts Dept of the State Treasury        One Ashburton Pl, 12th Fl         Boston, MA 02108                                                                                                                First‐Class Mail
Commonwealth of Virginia                                        Unclaimed Property                P.O. Box 2478                     Richmond, VA 23218                                                                            First‐Class Mail
Comptroller of Maryland                                         Revenue Administration Division   110 Carroll St                    Annapolis, MD 21411                                                                           First‐Class Mail
Comptroller of Maryland                                         Unclaimed Property Unit           301 W Preston St, Rm 310          Baltimore, MD 21201                                                                           First‐Class Mail
Comptroller of The Treasury                                     Revenue Administration Division   Annapolis, MD 21411                                                                                                             First‐Class Mail
Corporation Service Company, as Representative                  P.O. Box 2576                     Springfield, IL 62708                                                                                                           First‐Class Mail
County of Lehigh                                                Fiscal Office ‐ Rm 119            17 S Seventh St                   Allentown, PA 18101                                                                           First‐Class Mail
County of Navarro Assessor & Collector Of Taxes                 County of Navarro                 P.O. Box 1070                     Corsicana, TX 75151                                                                           First‐Class Mail
Crown Credit Company                                            40 S Washington St                New Bremen, OH 45869                                                                                                            First‐Class Mail
Cuyahoga County Division of Taxation                            P.O. Box 94723                    Cleveland, OH 44101                                                                                                             First‐Class Mail
Cuyahoga County Treasurer                                       Personal Property Department      P.O. Box 94547                    Cleveland, OH 44101                                                                           First‐Class Mail
Delaware Business Tax & License                                 P.O. Box 2340                      Wilmington, DE 19801                                                                                                           First‐Class Mail
Delaware Division of Corporations                               401 Federal St                    ite 4                             Dover, DE 19901                                                                               First‐Class Mail
Delaware Division of Revenue                                    P.O. Box 2044                      Wilmington, DE 19899                                                                                                           First‐Class Mail
Delaware Revenue Tax                                            P.O. Box 2044                      Wilmington, DE 19801                                                                                                           First‐Class Mail
Delaware Secretary of State                                     P.O. Box 5509                     Binghampton, NY 13902                                                                                                           First‐Class Mail
Delaware State Unclaimed Property                               Unclaimed Property                P.O. Box 8931                     Wilmington, DE 19899                                                                          First‐Class Mail
Dell Financial Services L.L.C.                                  Mail Stop PS2DF‐23                1 Dell Way                        Round Rock, TX 78682                                                                          First‐Class Mail
Dell Financial Services, L.P.                                   12234 N TH‐35, Bldg B             Austin, TX 78753                                                                                                                First‐Class Mail
Department of Consumer And Regulatory Affairs                   Affairs Corp Division             P.O. Box 92300                    Washington, DC, 20090                                                                         First‐Class Mail
Deptartmento De Hacienda                                        P.O. Box 9024140                  San Juan, PR 00902‐4140                                                                                                         First‐Class Mail
Fifth Third Bank National Association                           6111 N. River Rd                  Rosemont, IL 60018                                                                                                              First‐Class Mail
Fifth Third Bank, National Association                          38 Fountain Sq Plz                Cincinnati, OH 45263                                                                                                            First‐Class Mail
First Eagle Bank                                                1040 E Lake St                    Hanover, IL 60133                                                                                                               First‐Class Mail
First Financial Corporate Leasing, LLC                          711 KIMBERLY AVE, STE 160         Placentia, CA 92870                                                                                                             First‐Class Mail
First Financial Corporate Services, Inc.                        711 Kimberly Ave, Ste 160         Placentia, CA 92870                                                                                                             First‐Class Mail
First Financial Holdings, LLC                                   711 Kimberly Ave, Ste 160         Placentia, CA 92870                                                                                                             First‐Class Mail
First Financial Holdings, LLC                                   750 The City Drive S, Ste 300     Orange, CA 92868‐6905                                                                                                           First‐Class Mail
Florida Department of Revenue                                   5050 W Tennessee St               Tallahassee, FL 32399                                                                                                           First‐Class Mail
Georgia Department of Revenue, Taxpayer Services Div            P.O. Box 740321                   Atlanta, GA 30374                                                                                                               First‐Class Mail
Georgia Department of Revenue, Unclaimed Property Section       4245 Intl Pkwy, Ste A             Hapeville, GA 30354                                                                                                             First‐Class Mail
Grandview Chamber of Commerce                                   12500 S 71 Hwy                    Ste 100                           Grandview, MO 64030                                                                           First‐Class Mail
Huntington Technology Finance, Inc.                             2285 Franklin Rd, Ste 100         Bloomfield Hills, MI 48302                                                                                                      First‐Class Mail
HYG Financial Services, Inc.                                    P.O. Box 35701                    Billings, MT 59107                                                                                                              First‐Class Mail
Idaho State Tax Committee                                       P.O. Box 83784                    Boise, ID 83707                                                                                                                 First‐Class Mail
Illinois Department Of Revenue                                  P.O. Box 19028                    Springfield, IL 62794                                                                                                           First‐Class Mail
Illinois Secretary of State                                     213 State Capitol                 Springfield, IL 62756                                                                                                           First‐Class Mail
Illinois Secretary of State, Dept of Business Service           501 S 2nd St                      Springfield, IL 62756                                                                                                           First‐Class Mail
Illinois State Treasurer's Office                               Unclaimed Property Division       1 W Old State Cap Plz, Ste 400    Springfield, IL 62794                                                                         First‐Class Mail
Indiana Department of Revenue                                   Tax Administration                P.O. Box 7228                     Indianapolis, IN 46207                                                                        First‐Class Mail
Iowa Treasurer of State                                         Unclaimed Property Division       P.O. Box 10430                    Des Moines, IA 50306                                                                          First‐Class Mail
Kansas City Manager of Finance                                  Collection Department             415 E 12th St                     Kansas City, MO 64106                                                                         First‐Class Mail
Kansas City Treasurer                                           P.O. Box 840101                   Kansas City, MO 64184                                                                                                           First‐Class Mail
Kansas City Treasurer, Missouri Revenue Division                P.O. Box 843322                   Kansas City, MO 64184                                                                                                           First‐Class Mail
Kansas Department of Revenue                                    915 SW Harrison St                Topeka, KS 66625                                                                                                                First‐Class Mail
Kentucky State Treasurer                                        1050 US Hwy 127 S                 Ste 100                           Frankfort, KY 40601                                                                           First‐Class Mail
KYG Financial Services, Inc.                                    PO Box 35701                      Billings, MT 59107                                                                                                              First‐Class Mail
Laclede County Collector                                        200 N Adams                       Lebanon, MO 65536                                                                                                               First‐Class Mail
Land Records Blue Earth County                                  P.O. Box 3567                     Mankato, MN 56002                                                                                                               First‐Class Mail
Lane County                                                     Dept of Assessment & Taxation     125 E 8th Ave                     Eugene, OR 97401                                                                              First‐Class Mail
Law Office of Susan E. Kaufman, LLC                             Susan E. Kaufam                                                                                                                        skaufman@skaufmanlaw.com   Email
Liberty Bank                                                    245 Long Hill Rd                  Middletown, CT 06467                                                                                                            First‐Class Mail
Louisiana Department of Revenue                                 P.O. Box 91011                    Baton Rouge, LA 70821                                                                                                           First‐Class Mail
Louisiana Department of Revenue, Unclaimed Property Division    P.O. Box 91010                    Baton Rouge, LA 70821                                                                                                           First‐Class Mail
M&T Bank                                                        1 M&T Plz                         Buffalo, NY 14203                                                                                                               First‐Class Mail
M&T Bank                                                        One M&T Plaza                     Buffalo, NY 14203                                                                                                               First‐Class Mail
M2 Equipment Finance LLC                                        20800 Swenson Dr                  Waukesha, FL 53186                                                                                                              First‐Class Mail
Maine Revenue Services                                          P.O. Box 1062                     Augusta, ME 04332                                                                                                               First‐Class Mail
MB Equipment Finance, LLC                                       230 Schilling Cir, Ste 340        Hunt Valley, MD 21031                                                                                                           First‐Class Mail
McHenry County Collector                                        2200 N Seminary Ave               Woodstock, IL 60098                                                                                                             First‐Class Mail
Miami Dade County Tax Collector                                 Business Tax                       200 NW 2nd Ave                   Miami, FL 33128                                                                               First‐Class Mail
Michigan Department of Treasury                                 P.O. Box 30756                     Lansing, MI 48909                                                                                                              First‐Class Mail
Mildred Luba Tax Collector                                      1267 Sans Souci Pkwy              Peely, PA 18706                                                                                                                 First‐Class Mail
Minnesota Department of Revenue                                 P.O. Box 64649                    St Paul, MN 55164                                                                                                               First‐Class Mail
Minnesota Deptartment of Commerce                               Unclaimed Property Division       85 7th Pl E, Ste 600              St. Paul, MN 55101                                                                            First‐Class Mail
Mississippi Office of Revenue                                   P.O. Box 23192                    Jackson, MS 39225                                                                                                               First‐Class Mail
Mississippi State Tax Commissioner                              P.O. Box 1033                     Petro Tax Bureau                  Jackson, MS 39215                                                                             First‐Class Mail
Missouri Director of Revenue                                    P.O. Box 3020                     Jefferson, City 65105                                                                                                           First‐Class Mail
Missouri State Treasurer                                        P.O. Box 1272                     Unclaimed Property Division       Jefferson City, MO 65102                                                                      First‐Class Mail
Mohave County Treasurer                                         Dora E Goodmiller                 P.O. Box 712                      Kingman, AZ 86402                                                                             First‐Class Mail
Montana Department of Revenue                                   P.O. Box 5805                     Helena, MT 59604                                                                                                                First‐Class Mail
Municipio De San Juan                                           P.O. Box 70179                    San Juan, PR 00936                                                                                                              First‐Class Mail
Navajo County Treasurer                                         P.O. Box 668                      Holbrook, AZ 86025                                                                                                              First‐Class Mail
Nebraska State Treasurer                                        809 P St                          Lincoln, NE 68508                                                                                                               First‐Class Mail
NEC Financial Services, LLC                                     250 Pehle Ave, Ste 203            Saddle Brook, NJ 07663                                                                                                          First‐Class Mail
Nevada Secretary Of State                                       202 N Carson St                   Carson City, NV 89701                                                                                                           First‐Class Mail
New Mexico Taxation And Revenue Department                      Revenue Dept                      P. Box 2527                       Santa Fe, NM 87504                                                                            First‐Class Mail
New York Department of Finance                                  Correspondence Unit               1 Centre St                       22nd Fl                              New York, NY 10007                                       First‐Class Mail
New York State                                                  P.O. Box 15310                     Albany, NY 12212                                                                                                               First‐Class Mail
New York State Corporation Tax.                                 Processing Unit                   P.O. Box 22109                    Albany, NY 12201                                                                              First‐Class Mail
New York State Office Of State Comptroller                      Office Of Unclaimed Funds         110 State St, 2nd Fl              Albany, NY 12236                                                                              First‐Class Mail
North Carolina Department of Revenue                            Corp Income & Franchise Tax       P.O. Box 25000                    Raleigh, NC 27640                                                                             First‐Class Mail
North Dakota Department of Trust Lands                          1707 N 9th St                     Bismarck, ND 58501                                                                                                              First‐Class Mail
North Dakota Secretary of State                                 State of North Dakota             600 E Blvd                        Ave Dept 108                         Bismarck, ND 58505                                       First‐Class Mail
NYC Department of Finance                                       P.O. Box 5070                     Kingston, NY 12402                                                                                                              First‐Class Mail
Office of The Indiana Attorney                                  General Unclaimed Property Div    P.O. Box 2504                     Greenwood, IN 46142                                                                           First‐Class Mail
Ohio Attorney General                                           30 E Broad St                     14th Fl                           Columbus, OH 43215                                                                            First‐Class Mail
Ohio Division of Unclaimed                                      77 S High St, 20th Fl             Columbus, OH 43215                                                                                                              First‐Class Mail
Ohio Secretary of State                                         180 E Broad St                    16th Fl                           Columbus, OH 43215                                                                            First‐Class Mail
Oklahoma Office of State Treasurer                              Unclaimed Property Section        P.O. Box 53545                    Oklahoma, OK 73152                                                                            First‐Class Mail
Oklahoma Tax Commisioner                                        300 N Broadway Ave                Oklahoma City, OK 73102                                                                                                         First‐Class Mail
Oregon Department of Revenue                                    P.O. Box 14730                     Salem, OR 97309                                                                                                                First‐Class Mail
Oregon Department of Revenue                                    P.O. Box 14777                     Salem, OR 97309                                                                                                                First‐Class Mail
Oregon Department of State Lands                                775 Summer St NE #100              Salem, OR 97301                                                                                                                First‐Class Mail
Paintcare Inc                                                   P.O. Box 35143 #5247              Seattle, WA 98124                                                                                                               First‐Class Mail
Pennsylvania Department of Revenue                              Dept 280427                       Harrisburg, PA 17128                                                                                                            First‐Class Mail
People's United Bank, National Association                      850 Main St                       Bridgeport, CT 06604                                                                                                            First‐Class Mail
PNC Bank, National Association                                  as Administrative Agent           1600 Market St                    Philadelphia, PA 19103                                                                        First‐Class Mail
PNC Bank, National Association, as Administrative Agent         11600 Market St                   Philadelphia, PA 19103                                                                                                          First‐Class Mail
Puerto Rico Secretary of The Treasurer                          Unclaimed Property Supervisor     P.O. Box 11855                    San Juan, PR 00910                                                                            First‐Class Mail
RBS Asset Finance, Inc.                                         71 S Wacker Dr, 28th Fl           Chicago, IL 60606                                                                                                               First‐Class Mail
RBS Asset Finance, Inc.                                         71 S Wacker Dr, 29th Fl                                                                                                                                           First‐Class Mail
Signature Financial LLC                                         225 Broadhollow Rd, Ste 132W      Melville, NY 11747                                                                                                              First‐Class Mail
Somerset Capital Group, Ltd.                                    612 Wheelers Farms Rd             Milford, CT 06461                                                                                                               First‐Class Mail
Somerset Leasing Corp. 27                                       612 Wheelers Farms Rd             Milford, CT 06461                                                                                                               First‐Class Mail
Somerset Leasing Corp. XXII                                     612 Wheelers Farms Rd             Milford, CT 06461                                                                                                               First‐Class Mail
Somerset Leasing XXV, LLC                                       612 Wheelers Farms Rd             Milford, CT 06461                                                                                                               First‐Class Mail
South Carolina Department of Revenue                            33 Villa Rd Ste 5                 Greenville, SC 29615                                                                                                            First‐Class Mail
South Carolina State Treasurer                                  Offfice Unclaimed Property Prop   P.O. Box 11778                    Columbia, SC 29211                                                                            First‐Class Mail
South Carolina Treasurer's Office                               1200 Senate St                    Ste 414                           Columbia, SC 29201                                                                            First‐Class Mail




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                                                                                                                                                                Exhibit D
                                                                                                                                                                Service List


                                     Name                                                                                                                           Address                                                            Email            Method of Service
South Dakota State Treasurer's Office                        500 E Capitol Ave                              Pierre, SD 57501                                                                                                                   First‐Class Mail
State of Alabama Revenue Department                          Revenue Department                             P.O. Box 327790                  Montgomery, AL 36132                                                                              First‐Class Mail
State of Alabama Treasurers                                  Unclaimed Property Division                    P.O. Box 302520                  Montgomery, AL 36130                                                                              First‐Class Mail
State of Arkansas                                            Arkansas Auditor Of State                      1401 W Capitol Ave, Ste 325      Little Rock, AR 72201                                                                             First‐Class Mail
State of Connecticut                                         Unclaimed Property Division                    55 Elm St                        Hartford, CT 06106                                                                                First‐Class Mail
State of Connecticut                                         Department of Revenue Services                 P.O. Box 5089                    Hartford, CT 06102                                                                                First‐Class Mail
State of Florida                                             Department of Financial Serv                   P.O. Box 1990                    Tallahassee, FL 32302                                                                             First‐Class Mail
State of Hawaii                                              Dept of Commerce And Consumer                  Business Registraion Division    P.O. Box 40                         Honolulu, HI 96810                                            First‐Class Mail
State of Michigan                                            P.O. Box 30774                                 Lansing, MI 48909                                                                                                                  First‐Class Mail
State of New Hampshire                                       P.O. Box 1265                                  Concord, CT 03302                                                                                                                  First‐Class Mail
State of New Jersey                                          Division of Revenue                            P.O. Box 308                     Trenton, NJ 08646                                                                                 First‐Class Mail
State of Rhode Island                                        Division of Taxation #88                       P.O. Box 9702                    Providence, RI 02940                                                                              First‐Class Mail
State of Washington                                          Department of Revenue                          Unclaimed Property Section       P.O. Box 34053                      Seattle, WA 98124                                             First‐Class Mail
State Treasurer of Mississippi                               Unclaimed Prop Div                             501 N W St, Ste 1101A            Jackson, MS 39201                                                                                 First‐Class Mail
Tennessee Department of Revenue                              500 Deaderick St                               Nashville, TN 37242                                                                                                                First‐Class Mail
Texas Comptroller Office                                     Public Accounts                                P.O. Box 149348                  Austin, TX 78714                                                                                  First‐Class Mail
Texas Secretary of State                                     P.O. Box 13697                                 Austin, TX 78711                                                                                                                   First‐Class Mail
Texas State Comptroller, Comptroller of Public Accounts      111 E 17th St                                  Austin, TX 78774                                                                                                                   First‐Class Mail
Texas State Treasurer                                        Comptroller of Public Accounts                 P.O. Box 149360                  Austin, TX 78714                                                                                  First‐Class Mail
The Assistant Attorney General                               in charge of the Antitrust Div                 of the Dept of Justice           Attn: Jonathan Kanter               950 Pennsylvania Ave NW   Washington, DC 20530‐0001           First‐Class Mail
The Federal Trade Commission                                 600 Pennsylvania Ave NW                        Washington, DC 20580                                                                                                               First‐Class Mail
The Huntington National Bank                                 Attn: Equipment Finance Div                    525 Vine St, 14th Fl             Cincinnati, OH 45202                                                                              First‐Class Mail
Town of Columbia                                             P.O. Box 339                                   Columbia, AL 36319                                                                                                                 First‐Class Mail
Town of Ridgway                                              P.O. Box 10                                    201 N Railroad                   Ridgway, CO 81432                                                                                 First‐Class Mail
Town of Silverthorne                                         601 Center Cir                                 P.O. Box 1309                    Silverthorne, CO 80498                                                                            First‐Class Mail
TowneBank                                                    800 E Canal St, Ste 101                        Richmond, VA 23219                                                                                                                 First‐Class Mail
Treasurer of State Of Ohio                                   P.O. Box 182101                                Columbus, OH 43218                                                                                                                 First‐Class Mail
Treasurer State of Iowa                                      Iowa Dept Of Revenue                           P.O. Box 10466                   Des Moines, IA 50306                                                                              First‐Class Mail
Treasurer State of New Hampshire                             Abandoned Property Division                    25 Capitol St, Rm 205            Concord, NH 03301                                                                                 First‐Class Mail
Treasurer State of New Jersey                                Reporting Section                              P.O. Box 214                     Trenton, NJ 08625                                                                                 First‐Class Mail
Treasurer State of Tennessee                                 Unclaimed Property                             P.O. Box 198649                  Nashville, TN 37219                                                                               First‐Class Mail
Treasury Department, Bureau of Unclaimed Property            P.O. Box 8500‐53473                            Philadelphia, PA 19178                                                                                                             First‐Class Mail
U.S. Bancorp Equipment Finance, Inc                          P.O. Box 230789                                Portland, OR 97281                                                                                                                 First‐Class Mail
U.S. Bancorp Equipment Finance, Inc.                         A Division of U.S. Bank National Association   1310 Madrid St                   Marshall, MN 56258                                                                                First‐Class Mail
United States Department of The Treasury                     Internal Revenue Service                       Ogden, UT 84201                                                                                                                    First‐Class Mail
United States Treasury                                       Internal Revenue Service                       Ogden, UT 84201                                                                                                                    First‐Class Mail
Utah Department of Agriculture                               P.O. Box 146500                                Salt Lake City, UT 84114                                                                                                           First‐Class Mail
Utah State Tax Commisioner                                   210 N 1950 W                                   Salt Lake City, UT 84134                                                                                                           First‐Class Mail
Utah Unclaimed Property                                      Holding Reports                                P.O. Box 142321                  Salt Lake City, UT 84114                                                                          First‐Class Mail
Vermont Department of Taxes                                  109 State St                                   Montpelier, VT 05609                                                                                                               First‐Class Mail
Virginia Department of Taxation                              P.O. Box 1500                                  Richmond, VA 23212                                                                                                                 First‐Class Mail
Washington DC Office of Tax And Revenue                      Corp Estimated Franchise Tax                   P.O. Box 96019                   Washington, DC, 20090                                                                             First‐Class Mail
West Virginia Department of Tax & Revenue                    Internal Auditing Division                     P.O. Box 3694                    Charleston, WV 25336                                                                              First‐Class Mail
West Virginia Office of State Treasurer                      P.O. Box 3328                                  Unclaimed Property Division      Charleston, WV 25301                                                                              First‐Class Mail
Wintrust Equipment Finance                                   A Division of Wintrust Asset Finance Inc.      3665 Park Pl W, Ste 150          Mishawaka, IN 46545                                                                               First‐Class Mail
Wisconsin Department of Revenue                              Box 930208                                     Milwaukee, WI 53293                                                                                                                First‐Class Mail
Wisconsin Department of Revenue ‐ Unclaimed Property Unit    P.O. Box 8982                                  Ste 550                          Madison, WI 53708                                                                                 First‐Class Mail
Yolo County Tax Collector                                    P.O. Box 1995                                  Woodland, CA 95776                                                                                                                 First‐Class Mail




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45 PARTIES OF INTEREST WERE SERVED. THE NAMES AND E-MAIL ADDRESSES OF THESE PARTIES ARE NOT STATED TO MAINTAIN
CONFIDENTIALITY.
